          Case 1:05-cv-01971-PLF Document 435 Filed 03/25/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
_______________________________________
MOHAMMED AL-QAHTANI,
         Petitioner,
         v.                                         Case No. 05-CV-1971 (PLF)
JOSEPH R. BIDEN, JR., et al.,
         Respondents.



                                    NOTICE OF FILING


         PLEASE TAKE NOTICE THAT, on March 25, 2022, Petitioner Mohammed al-Qahtani

filed and served Petitioner’s Status Report in the above-captioned action. The filing, totaling 7

pages, contains presumptively protected information and was therefore filed under seal, in

keeping with Local Civil Rule 5.1(h) and the relevant provisions of the Protective Order

governing this case, ECF No. 62 at ¶¶ 49(a)-(b), authorizing both parties to file protected

information under seal without a motion to seal.


Dated:          March 25, 2022

                                                           Respectfully submitted,

                                                           ____/s/______________
                                                           Ramzi Kassem
                                                           Main Street Legal Services, Inc.
                                                           City University of New York
                                                           School of Law
                                                           2 Court Square West
                                                           Long Island City, NY 11101
                                                           (718) 340-4558

                                                           Counsel for Petitioner
